        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 1 of 20


 1
 2
 3
 4                       UNITED STATES DISTRICT COURT
 5                     EASTERN DISTRICT OF CALIFORNIA
 6
 7   DENNIS NASRAWI, et al,                 1:09-CV-02061-OWW-GSA
 8                                          MEMORANDUM DECISION RE:
 9                    Plaintiffs,           PLAINTIFFS’ RENEWED MOTION TO
                                            REMAND (Doc. 51.)
10         v.
11
12   BUCK CONSULTANTS, LLC, et al.,

13                    Defendants.
14
15                             I.   INTRODUCTION.

16        Before the court for decision is Plaintiffs’ renewed motion to

17   remand the case to the Stanislaus County Superior Court, pursuant

18   to 28 U.S.C. § 1447(c).   Plaintiffs previously moved to remand the

19   action to state court, however, that motion was denied on grounds

20   that Mr. Loeb was a “sham” defendant whose presence in the action

21   did not defeat diversity jurisdiction.         Plaintiffs subsequently

22   filed a second amended complaint that includes, among other things,

23   genuine factual content and a breach of fiduciary duty claim

24   against Mr. Loeb.     That pleading is the basis for the renewed

25   motion.

26        Defendants oppose the renewed motion, arguing that Plaintiffs’

27   amended pleading does not resolve or otherwise improve on the

28   original complaint.

                                        1
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 2 of 20


 1                                 II.   BACKGROUND.
 2        The   procedural   and    factual    background   in    this   case   are
 3   summarized in the previous Memorandum Decisions, filed on May 12,
 4   2010 and June 29, 2010, in brief:1         On October 8, 2009, Plaintiffs
 5   Dennis Nasrawi, Michael O’Neal, and Rhonda Biesemeir, California
 6   residents and beneficiaries of StanCERA, filed a complaint against
 7   a provider of actuarial services, Buck Consultants, LLC, (“Buck”),
 8   and one of its employees, Harold Loeb (“Loeb”).2            Plaintiffs filed
 9   their complaint against Defendants Buck Consultants and Loeb in
10   Stanislaus Superior Court.
11        On November 22, 2009, this case was removed on the basis of
12   diversity jurisdiction.       (Doc. 1.)    The notice of removal provides
13   that the presence of Loeb as a defendant in the action does not
14   defeat diversity jurisdiction because he is a fraudulently joined
15   “sham defendant.”   (Id.)
16        On December 15, 2009, Plaintiffs moved to remand this action
17   based on their assertion of a negligence claim against a resident
18   of California, Mr. Loeb.      (Doc. 17.)    The motion was granted on May
19
20        1
           See, e.g., Nasrawi v. Buck Consultants, LLC, --- F. Supp. 2d
     ----, 2010 WL 1948641 (E.D. Cal. May 12, 2010); Nasrawi v. Buck
21
     Consultants, LLC, NO. 1:09-CV-02061, 2010 WL 2629071 (E.D. Cal.,
22   June 29, 2010).
          2
23          StanCERA is a public employee retirement system covering
     employees of the County of Stanislaus, City of Ceres, the
24   Stanislaus Superior Court, and five special districts located
     within Stanislaus County.    Defendant Buck, a Delaware limited
25   liability company with wits principal place of business in New
26   York, provided actuarial services to StanCERA. Loeb, a California
     resident, is employed by Buck Consultants as an actuary. Buck is
27   wholly owned by ACS Human Resources Solutions, a Pennsylvania
     Corporation with its principal place of business in New Jersey.
28   Buck’s principal place of business is New York.

                                           2
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 3 of 20


 1   12, 2010 on the basis of Plaintiffs’ conclusory pleading that Loeb
 2   was a “‘sham defendant’ whose presence in this action d[id] not bar
 3   removal   and    exists   for    the    purposes    of   defeating   diversity
 4   jurisdiction”    and   that     California   law    barred     Plaintiffs   from
 5   holding   Loeb    individually     liable    for     alleged    negligence    in
 6   performing duties in the course and scope of his employment that
 7   allegedly caused economic loss to a third party.               Nasrawi v. Buck
 8   Consultants, LLC, 713 F. Supp. 2d 1080, at 4-10 (E.D. Cal. 2010).
 9   An express reservation to revisit the merits of the remand motion
10   was made if “discovery reveals different facts.”               Id. at 10.
11        On January 19, 2010, Defendants moved to dismiss the entire
12   complaint because Plaintiffs lack standing and Loeb cannot be sued
13   individually.3      (Doc. 19.)         Plaintiffs opposed the motion to
14   dismiss on April 26, 2010.             (Doc. 26.)    On June 29, 2010, the
15   motion was granted with leave to amend.             (Doc. 40.4)
16        Plaintiffs filed a first amended complaint (“FAC”) against
17   Defendants Buck and Loeb on August 2, 2010.                    (Doc. 41.)    In
18   addition to the original negligence-based claims, the FAC included
19   allegations that Loeb “aided and abetted in StanCERA’s breach of
20   fiduciary duty by allowing the County to underfund the pension
21   system [] and concealing these actuarial schemes for years.”                (FAC
22   ¶ 39.)    It is further alleged that Buck and Loeb “concealed
23
24        3
            With respect to Buck, Defendants argued that “the action can
     only be brought by StanCERA in its capacity as trustee, and cannot
25   be brought by Plaintiffs as trust beneficiaries.”          Further,
26   Defendants argued that Plaintiffs' failure to state a claim against
     Loeb is established by the May 12, 2010 Memorandum Decision.
27
          4
           Nasrawi v. Buck Consultants, LLC, NO. 1:09-CV-02061, 2010 WL
28   2629071 (E.D. Cal., June 29, 2010).

                                              3
           Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 4 of 20


 1   StanCERA’s conduct [] by singing false actuarial certification
 2   letters intended to mislead beneficiaries and the public.”                 (FAC ¶
 3   38.)
 4          On August 30, 2010, Defendants moved to dismiss each cause of
 5   action contained in the FAC.           (Doc. 47.)     Plaintiffs opposed the
 6   motion on September 27, 2010.          (Doc. 48.)     Plaintiffs’ opposition
 7   also renewed their motion to remand.         (Id.)      An October 13, 2010,
 8   Minute Order provided: “the opposition will be treated as a renewed
 9   motion to remand” and set a briefing schedule only on the remand
10   issue.      (Doc. 50.)    On October 20 and 25, 2010, the parties filed
11   supplemental briefing, limited to the issue of remand.                  (Docs. 51
12   and 52.)
13          Oral argument was held on November 1, 2010.               Plaintiff was
14   directed      to   file   a   second    amended     complaint     to     “[s]tate
15   specifically what the facts are in this case that support the
16   fraud, the aiding and abetting and/or the conspiracy, whatever it
17   is, to achieve the unlawful result.”5                 An November 10, 2010
18   notified the parties the Court intended to treat the filing of the
19   amended pleading as a “Renewed Motion to Remand.”            Plaintiff filed
20   a second amended complaint (“SAC”) on November 30, 2010, advancing
21   claims for actuarial negligence and breach of fiduciary duty
22   against Defendants, including Mr. Loeb.              (Doc. 55.)        Defendants
23   opposed the motion on December 10, 2010.            (Doc. 56.)   The motion to
24   remand is now submitted for decision.
25   ///
26   ///
27
28          5
                (Rough Reporter’s Transcript, Nov. 1, 2010, 12:20-12:23.)

                                             4
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 5 of 20


 1                               III.   LEGAL STANDARD.
 2        Federal courts have original jurisdiction over civil actions
 3   where the amount in controversy exceeds $75,000, exclusive of
 4   interest and costs, and the case is between citizens of different
 5   states.     28 U.S.C. § 1332.        Diversity jurisdiction under § 1332
 6   requires that each plaintiff be diverse from each defendant. Exxon
 7   Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 553 (2005)
 8   (citing Owen Equipment & Erection Co. v. Kroger, 437 U.S. 365, 375,
 9   (1978)).     To protect the jurisdiction of state courts, removal
10   jurisdiction is strictly construed in favor of remand.                Harris v.
11   Bankers Life and Cas. Co., 425 F.3d 689, 698 (9th Cir. 2005)
12   (citing Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108-09,
13   (1941)).    Any doubt as to the right of removal must be resolved in
14   favor of remand.    Gaus v. Miles, 980 F.2d 564, 566 (9th Cir. 1992).
15   “Th[is] ‘strong presumption’ against removal jurisdiction means
16   that the defendant always has the burden of establishing that
17   removal is proper.”        Id. (internal citations omitted).
18        But removal is proper despite the presence of a non-diverse
19   defendant if that defendant is a “fraudulently joined” or “sham”
20   defendant. See Caterpillar, Inc. v. Lewis, 519 U.S. 61, 68 (1996).
21   A defendant has been fraudulently joined if the plaintiff fails to
22   state a claim against a resident defendant, and the failure is
23   “obvious according to the well-settled rules of the state.” United
24   Computer Sys. v. AT & T Corp., 298 F.3d 756, 761 (9th Cir. 2002).
25   In the Ninth Circuit, a non-diverse defendant is deemed a sham
26   defendant    if,   after    all    disputed   questions   of   fact    and   all
27   ambiguities in the controlling state law are resolved in the
28   plaintiff's favor, the plaintiff could not possibly recover against

                                            5
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 6 of 20


 1   the party whose joinder is questioned.           Kruso v. Int'l Tel. & Tel.
 2   Corp., 872 F.2d 1416, 1426 (9th Cir. 1989).                A court may look
 3   beyond the pleadings to determine if a defendant is fraudulently
 4   joined, but “a plaintiff need only have one potentially valid claim
 5   against a non-diverse defendant” to survive a fraudulent joinder
 6   challenge.    See Knutson v. Allis-Chalmers Corp., 358 F. Supp. 2d
 7   983, 993-95 (D. Nev. 2005) (summarizing cases);            Ritchey v. Upjohn
 8   Drug Co., 139 F.3d 1313, 1318 (9th Cir. 1998).               Accordingly, a
 9   defendant seeking removal based on an alleged fraudulent joinder
10   must do more than show that the complaint at the time of removal
11   fails to state a claim against the non-diverse defendant.               See
12   Burris v. AT & T Wireless, Inc., 2006 WL 2038040, at 2 (N.D. Cal.
13   2006).   Remand must be granted unless the defendant shows that the
14   plaintiff “would not be afforded leave to amend his complaint to
15   cure [the] purported deficiency.”          Id. at 2.
16
17                               IV.   DISCUSSION.
18        Incorporating language from the holdings of two Ninth Circuit
19   cases, Moore-Thomas v. Alaska Airlines, Inc., 553 F.3d 1241 (9th
20   Cir. 2009) and Gaus v. Miles, 980 F.2d 564, Plaintiffs argue that
21   remand   is   appropriate   because       “the   Court’s   previous   orders
22   demonstrate the Court’s doubt regarding Loeb’s liability.”            (Doc.
23   51 at 1:13)(emphasis added).6     Plaintiffs’ characterization of the
24
25        6
            Plaintiffs correctly observe that Ninth Circuit law holds
26   that “any doubts are to be resolved in favor of state court
     jurisdiction and remand.” See Gaus v. Miles, 980 F.2d at 566. As
27   discussed in detail in the relevant Memorandum Decisions, however,
     there was no “doubt” given the severely underdeveloped original
28   complaint. Gaus v. Miles was cited in § III of the May 12, 2010

                                           6
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 7 of 20


 1   May 12, 2010 Memorandum Decision is not accurate.         There was no
 2   expression of “doubt” as that term is defined in Gaus v. Miles and
 3   Moore-Thomas v. Alaska Airlines.        Rather, the Court expressly
 4   reserved the right to revisit the merits of the remand motion if
 5   “discovery reveal[ed] different facts.” This reservation was based
 6   on the limited facts originally pleaded and Plaintiffs’ counsel’s
 7   oral request to amend.7      A number of district courts in this
 8   Circuit have denied motions to remand, with leave to renew, based
 9   on the purported ability to cure a pleading deficiency via an
10   amended complaint.     See, e.g., Garner v. Pac. Nw. Nat. Lab., No.
11   CV-09-5056-RHW, 2009 WL 2973037 (E.D. Wash. Sept. 11, 2009).            The
12   same approach was followed here.
13        During oral argument on June 7, 2010 the Court explained that
14   Plaintiffs’ original complaint was factually and legally deficient
15   to support remand in this case.        Plaintiffs acknowledged these
16   deficiencies and requested leave to amend, which was granted:
17      COURT:            [W]e're not talking about active wrongdoing
                          where the LLC and Buck, in effect, are
18                        conspiring or aiding and abetting each
                          other. That's what [Plaintiffs’ counsel]
19                        is talking about alleging.      Am I right
                          [counsel]? [...]
20
        P’s Counsel:      Yes, Your Honor, you're right [...]          I
21                        conjure up the facts [...]
22      D’s Counsel:      I do not think that there's any -- I don't
                          think that there's anything that Mr. Conger
23
24   Memorandum Decision.    Its reasoning continues to apply.
25        7
            The express reservation in the May 12, 2010 Memorandum
26   Decision was based on: the text of 28 U.S.C. § 1447(c); Plaintiffs’
     counsel’s representations at oral argument that any pleading
27   deficiency could be cured by an amended complaint; and the
     conclusory state court complaint, which formed the basis for
28   Plaintiffs’ lawsuit against Defendants Buck and Loeb.

                                        7
     Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 8 of 20


 1                    has said in court today that would give
                      rise to individual liability to Harold
 2                    Loeb. I think that it's also highly
                      questionable whether he even said anything
 3                    that has -- that could possibly give rise
                      to liability for Buck Consultants. I think
 4                    what   he's   basically   alleging  is   a
                      conspiracy between the County of StanCERA
 5                    -- excuse me, Stanislaus County and the
                      StanCERA Board. And that is something that
 6                    we really had nothing to do with. And
                      neither of those entities are parties to
 7                    the action. And what he's basically
                      alleging –
 8
     THE COURT:       Well, here's what I understand him to be
 9                    alleging. Your client knows better. They
                      know how to do it right. But to keep
10                    employed and to keep earning fees, they're
                      going along with StanCERA and the County.
11                    That's what I heard him say. That could
                      state a claim. If he alleges it. He's got
12                    a Rule 11 that guides him.     He needs a
                      legal   investigation    and   a   factual
13                    investigation to support that.     So you
                      don't disagree with that, do you, as a
14                    matter of theory?
15   D’s Counsel:     I -- well, I mean, I think that, you know,
                      in theory, I don't know what he's alleging.
16
     THE COURT:       Let's not be disingenuous [...] If you want
17                    to have credibility before this Court, then
                      acknowledge reality and let's talk about
18                    what is being stated. Don't just give me
                      there's no way in the world we could ever
19                    be liable for a claim here, because that's
                      not true. Whether it comports with factual
20                    reality, whether it's legally based or not,
                      that's something else. But if he alleges
21                    that to keep earning fees and to keep
                      employed, that your client went along with
22                    StanCERA and the board to intentionally
                      undervalue and actuarially, if you will,
23                    provide for inadequate contribution levels
                      so this plan could not be viable, that
24                    could state a claim for breach of fiduciary
                      duty and/or breach of contract.
25
     D’s Counsel:     I   think   that   there's   an important
26                    distinction that needs to be made between
                      the conclusory allegations and factual
27                    allegations. In Ashcroft versus Iqbal, the
                      Supreme Court held that just alleging that
28                    there was some type of knowing violation

                                     8
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 9 of 20


 1                       was still deemed to be a conclusory
                         allegation that was insufficient. And the
 2                       Court rejected it. I think that what he
                         would have to be able to do is allege
 3                       specific facts --
 4      THE COURT:       Specifically make the allegations, that's
                         right. Dot the I's and cross the T's,
 5                       that's what I'm talking about. And so I
                         think that's where we are in this case. He
 6                       doesn't -- it isn't presently alleged.
 7                       I don't see that I should deny him leave to
                         amend.
 8
     (Doc. 42 at 32:3-34:3, 39:10-39:22.)
 9
          Plaintiffs filed a first amended complaint on August 2, 2010,
10
     advancing two claims against Loeb, the alleged “sham” defendant:
11
     (1) actuarial negligence; and (2) breach of fiduciary duty.8            The
12
     SAC, filed on November 30, 2010, similarly raises claims for
13
     actuarial   negligence   and   breach     of   fiduciary   duty   against
14
     Defendants, including Mr. Loeb.          The SAC alleges, among other
15
     things, that Mr. Loeb concealed StanCERA’s misconduct by signing
16
     false actuarial certification letters and aiding/abetting Buck’s
17
     unlawful conduct.    The SAC provides, in relevant part:
18
        4.    Defendant Harold Loeb (“Loeb”) is an individual actuary
19            who, based on information and belief, resides in California
              and was the principal actuary assigned by Buck to provide
20            actuarial services to StanCERA [...]
21      26.   As the health of the pension trust fund dramatically
              plunged, StanCERA imprudently and by the artifice of
22            various actuarial schemes, manipulated the pension trust
              fund it administers in order to reduce County employer
23            contributions by an at least $81.4 million, rather than to
              assure the competency of the assets of the plan. (See, Cal.
24            Const., art. XVI, § 17(e) [requiring StanCERA’s actuarial
              function be exercised “consistent with [its] exclusive
25            fiduciary responsibilities” and “in order to assure the
              competency of the assets of the public pension or
26
27
         8
            The breach of fiduciary duty claim was not pled in the
28   original state law complaint.

                                          9
     Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 10 of 20


 1        retirement system”].) During this and all other periods,
          all County employees have continued to make their full
 2        contributions. These schemes included:
 3              *    Knowingly failing to collect in excess of $40
                million in employer contributions that County owed to
 4              StanCERA in order to fund the pension trust fund.
                Although StanCERA claims this was due to an error of
 5              its   actuary,   Buck   Consultants  and   Loeb,   in
                “significant[ly]     understat[ing]    future    Plan
 6              liabilities and costs,” in almost two years since
                StanCERA claims to have discovered this error, it has
 7              not acted to collect this money from the County or
                pursue   a   claim    against   Buck  for   actuarial
 8              malpractice.   Moreover,    although  in  this   case
                plaintiffs are acting to pursue a malpractice claim
 9              against Buck Consultants and Loeb for damages, with
                the proceeds to be paid to StanCERA for the benefit
10              of all of its participants and beneficiaries,
                StanCERA has actively impeded the plaintiffs’ ability
11              to pursue that litigation and refused to cooperate
                with them.
12
                *    On or about April 28, 2009, StanCERA transferred
13              $10 million from a nonvaluation reserve of pension
                trust funds to be used as the County's employer
14              contribution from the County for fiscal year
                2009-2010. In other words, because of this transfer,
15              the County paid $10 million less into already
                severely underfunded pension trust fund than it
16              otherwise would have paid.       Thus, as a result,
                StanCERA had $10 million fewer assets that it
17              otherwise would have.
18              *    On or about April 28, 2009, StanCERA transferred
                an additional $50 million from a non-valuation
19              reserve to valuation reserves for the purpose of
                further reducing the County's employer contributions
20              (in addition to that alleged in paragraph 37).
                Because of this transfer, the County will pay $50
21              million less into already severely underfunded
                pension trust fund than it otherwise would have paid.
22              Thus, as a result, StanCERA had millions of fewer
                assets than it otherwise would have.
23
                *    On or about April 28, 2009, even though the
24              pension trust fund was underfunded in excess of
                one-half of one billion dollars, StanCERA adopted and
25              has maintained a negative amortization scheme in
                which, according to StanCERA's actuary:          "the
26              amortization payment [required from the County under
                Government Code section 31453.5] in [each] year will
27              be less that the interest on the unfunded amount—no
                payment towards ‘principal' [debt] is made."     This
28              action was taken by StanCERA against the advice of

                                            10
     Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 11 of 20


 1              its actuary.
 2             *    On or about June 9, 2010, StanCERA transferred
               another $21.4 million (in addition to the $10 million
 3             transfer alleged in paragraph 37 and the $50 million
               transfer alleged in paragraph 51) from a non-valuation
 4             reserve of pension trust funds to be used as the
               County's employer contribution from the County for
 5             fiscal year 2010-2011. In other words, because of this
               transfer, the County paid $21.4 million less into
 6             already severely underfunded pension trust fund than
               it otherwise would have paid.     Thus, as a result,
 7             StanCERA will soon have $21.4 million fewer assets
               that it otherwise would have had.
 8
     33.   Defendants Buck and Loeb owed a duty to exercise due care
 9         in performing actuarial services for StanCERA.
10   34.   Buck and Loeb breached their duty of care in preparing
           StanCERA’s January 9, 2007 actuarial valuation by using
11         inappropriate actuarial assumptions.
12   35.   The defendants’ negligence caused StanCERA, plaintiffs, and
           other beneficiaries of the pension trust fund to suffer
13         harm,   consisting    of:   (1)   lost   County    employer
           contributions, (2) lost earnings on those contributions,
14         and (3) costs paid to other actuarial firms to discover the
           defendants’ negligence.
15
     36.   The plaintiffs are informed and believe that the
16         defendants’ negligence had the effect of lowering the
           County’s required, annual employer contribution to StanCERA
17         by more than $40 million. The plaintiffs are informed and
           believe that the 9.22 percent employer contribution rate
18         adopted by StanCERA, in reliance upon the actuarial
           valuation negligently prepared by Buck and Loeb, was
19         insufficient to actuarially fund the benefits promised by
           the County. It was therefore a breach of fiduciary duty
20         by StanCERA.
21   37.   StanCERA has a fiduciary obligation to pursue a negligence
           claim against Buck and Loeb to recover lost County employer
22         contributions, earnings on those contributions, and the
           costs paid to other actuarial firms to discover the
23         defendants' negligence. Such a claim is an asset of the
           pension trust. However, StanCERA has failed to assert that
24         negligence claim in breach of its fiduciary obligations to
           its members, including the plaintiffs.
25
     38.   StanCERA has not brought and will not bring a claim against
26         Buck and Loeb because doing so would expose StanCERA’s own
           breaches of fiduciary duty and violations of subdivisions
27         (a), (b), (c), and (e) of section 17 of article XIV of the
           California Constitution, by permitting the pension plan to
28         be underfunded and actuarial unsound, and would further

                                       11
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 12 of 20


 1              expose the actuarial schemes as set forth in paragraph 26,
                and would lead to greater funding by the County of the
 2              pension fund. Buck and Loeb have also concealed StanCERA’s
                conduct alleged in paragraph 26 by signing false actuarial
 3              certification letters intended to mislead beneficiaries and
                the public. Loeb personally signed these false actuarial
 4              certification letters.
 5      39.     Buck and Loeb have actively participated with, aided, and
                abetted in StanCERA’s breach of fiduciary duty by (a)
 6              allowing the County to underfund the pension system as
                alleged in paragraph 26, and (b) concealing these actuarial
 7              schemes for years. Buck and Loeb did this with knowledge
                that StanCERA was breaching its fiduciary duties by
 8              permitting underfunding of the [] employees’ pension trust
                and that their involvement with StanCERA’s overall scheme
 9              as alleged in paragraphs 26 and 27 would further that
                scheme.
10
        40.     Buck and Loeb have participated with, aided, and abetted
11              in StanCERA’s breach of fiduciary duty for their own
                financial gain, specifically, increased fees paid by
12              StanCERA to Buck and Loeb.         Plaintiffs allege on
                information and belief that Loeb personally profited from
13              these increased fees.
14
     (SAC, ¶¶ 4, 26, 33-40)(footnotes omitted).
15
          The    parties    sharply   disagree   whether   the    second   amended
16
     complaint contains sufficient factual matter to state stand-alone
17
     actuarial negligence and/or fiduciary duty-based claims against
18
     Defendant Loeb.       If it does, well-established Ninth Circuit law,
19
     including Gaus v. Miles and Moore-Thomas v. Alaska Airlines,
20
     command that the case be remanded based on a lack of complete
21
     diversity.    Plaintiffs argue the second amended complaint includes
22
     specific factual matter delineating Loeb’s fraudulent conduct,
23
     including signing false actuarial letters and aiding and abetting
24
     a conspiracy to underfund the pension system.               Plaintiffs claim
25
     that these allegations of personal and professional impropriety
26
     resolve any dispute over Loeb’s liability and support remanding the
27
     matter to state court.
28

                                          12
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 13 of 20


 1        Defendants disagree.       In their view, the second amended
 2   complaint fails to cure the original defects, i.e., does not state
 3   a claim against Defendant Loeb whatsoever.       Defendants explain:9
 4       Plaintiffs argue that their FAC cures the defects because
         they alleged that Loeb ‘personally’ signed false
 5       actuarial certification letters.       Plaintiffs simply
         recycle an argument that the Court already considered and
 6       rejected [...] the FAC merely re-pleads a single cause of
         action against Loeb alleging negligence based on conduct
 7       within the course and scope of his employment that
         purportedly caused pecuniary loss [...]
 8
         Plaintiffs also attempt to bring a factually unsupported
 9       and legally meritless second cause of action that Loeb
         can be held individually liable as a ‘trust advisory with
10       powers of directions.’    Here, by contrast, Plaintiffs
         cannot identify any Government Code provisions regulating
11       the StanCERA trust that gives ‘power of direction over
         StanCERA funds to a private actuarial firm or its
12       employee.
13
     (Doc. 52 at 4:27-5:20.)
14
          Defendants further assert that “[t]he SAC fails to plead []
15
     any facts that Loeb knew the certification letter was purportedly
16
     ‘false,’ or that Loeb had any knowledge of, participated in, or (on
17
     information and belief) ‘personally profited’ from any actuarial
18
     ‘schemes’ by StanCERA to underfund the pension system [...] [t]hese
19
     conclusory allegations are properly disregarded.”           (Doc. 56 at
20
     3:26-4:2)(emphasis in original).10
21
22        9
            This excerpt was taken from Defendants’ opposition to the
23   November 20, 2010 motion to remand, prior to the SAC being filed.
     As the first and second amended complaints are nearly identical,
24   the arguments apply here with equal force.
25        10
             The law is unsettled regarding whether Loeb can be held
26   liable on a negligence theory.    See Bear Valley Family v. Bank
     Midwest, N.A., No. CV-10-905-PSG-JEM, 2010 WL 3369600, at 4 (C.D.
27   Cal. Aug 23, 2010)(finding that “Defendants have failed to
     establish that Plaintiffs' claim for negligent misrepresentation
28   against Defendant Emmons obviously fails ‘according to the settled

                                        13
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 14 of 20


 1        The SAC alleges that Loeb, individually, participated in a
 2   scheme   to   fraudulently   underestimate         and   designate   pension
 3   contribution levels to benefit StanCERA’s breach of fiduciary duty
 4   to correctly fix annual contribution levels to relieve the county
 5   from the fiscal burden of doing so.        See, e.g., Cont'l Ins. Co. v.
 6   Foss Mar. Co., No. C 02-3936 MJJ, 2002 WL 31414315, at 6 (N.D. Cal.
 7   Oct. 23, 2002)(“the standard is not whether [the] plaintiffs will
 8   actually or even probably prevail on the merits, but whether there
 9   is any possibility that they may do so.”);          see also Pampillonia v.
10   RJR Nabisco, Inc., 138 F.3d 459, 461 (2d Cir. 1998) (“defendant
11   must show that there is no possibility, based on the pleadings,
12   that [the] plaintiff can state a cause of action against the
13   non-diverse defendant in state court.”).           Particularly, Plaintiffs
14   allege that    Loeb    aided and    abetted   an    ongoing   conspiracy by
15   actively and personally engaging in the breach by himself knowingly
16   signing false audit documents with unlawful fraudulent intent; he
17   personally    misled    investors     by   concealing      the   fraudulent
18   underreporting actuarial schemes;          and he was one of the main
19   participants in the alleged conspiracy involving the pension trust,
20   its actuary and its lead individual actuary.
21        Defendants’ interpretation of the law would make any action
22
23   rules of the state’ [] [t]hus, Emmons's citizenship should not be
     disregarded under the doctrine of fraudulent joinder, and this case
24   must be remanded for lack of subject matter jurisdiction.”). As
     discussed infra, the Bear Valley decision provides a separate and
25   independent basis to remand the case to the California Superior
26   Court, County of Stanislaus. See, e.g., Harris v. United Parcel
     Service, Inc., No. C-08-0315 MMC, 2008 WL 506141 (N.D. Cal. Feb.
27   22, 2008)(remanding the case to the superior court because the “law
     is unsettled with respect to a supervisor's liability for
28   retaliation under FEHA.”).

                                          14
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 15 of 20


 1   grounded in breach of fiduciary duties brought against a non-
 2   diverse defendant removable to federal court.11                       This is not the
 3   law.12      No federal claim is asserted.                 Plaintiffs’ allegations are
 4   also     sufficiently          detailed   to       meet    the   heightened     pleading
 5   requirements applicable to fraud-based claims, against the non-
 6   diverse defendant, even if a “claim of fraudulent joinder may be
 7   defeated even if the particularity requirements are not met.”13
 8   County of Hawaii v. Univev, LLC, No. 09-00368-ACK-LEK, 2010 WL
 9   520696,      at   10     (D.    Haw.   Feb.     11,       2010)(citation   omitted).
10   Plaintiffs        have    specified       the      documents     it   alleges    to   be
11   fraudulently signed; why they were falsified; who signed them; and
12   when they were submitted to the pension trust. (SAC ¶¶ 26, 36-40.)
13   Defendants' argument that this is really a negligence dispute and
14   not a breach of fiduciary, fraud, or aiding and abetting case, goes
15   to the merits of whether they are liable;                        but not to whether
16   Plaintiffs have a cause of action against Loeb sufficient to defeat
17
18
            11
19          This hypothetical assumes, arguendo, that no federal claims
     are alleged and no other diverse parties were named as defendants.
20
            12
            See, e.g., Briano v. Conseco Life Ins. Co., 126 F. Supp. 2d
21   1293, 1296 (C.D. Cal. 2000) (“The removing party must prove that
22   there is absolutely no possibility that the plaintiff will be able
     to establish a cause of action against the non-diverse defendant in
23   state court.”).

24          13
            Assuming, arguendo, that the particularity requirement of
     Rule 9(b) applies to breach of fiduciary duty claims.         See
25   generally TMX Funding, Inc. v. Impero Technologies, Inc., No.
26   10-00202-JF-PVT, 2010 WL 2509979, at 2 (N.D. Cal. June 17, 2010);
     accord City of Driscoll, Texas v. Saenz, No. C-06-543, 2007 WL
27   173232, at 5 (S.D. Tex. Jan. 17, 2007)(“Courts have also applied
     the particularity requirement of Rule 9(b) to breach of fiduciary
28   duty claims predicated on fraud.”).

                                                   15
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 16 of 20


 1   fraudulent joinder.14     If the claim against Loeb is spurious,
 2   Defendants may reassert their diversity claim.
 3        Accepting the allegations of the second amended complaint,
 4   Defendants cannot demonstrate, by clear and convincing evidence,
 5   that there is no possibility that Plaintiffs can state a claim
 6   against Loeb for breach of fiduciary duty or aiding/abetting a
 7   breach/fraud.    See, e.g., Hamilton Materials Inc. v. Dow Chem.
 8   Corp., 494 F.3d 1203, 1206 (9th Cir. 2007)(the removing defendant
 9   must prove by clear and convincing evidence that joinder was
10   fraudulent); Knutson v. Allis-Chalmers Corp, 358 F. Supp. 2d at
11   993-95 (“A plaintiff need only have one potentially valid claim
12   against a non-diverse defendant” to survive a fraudulent joinder
13   challenge.); accord Altman v. HO Sports Co., Inc., No. 1:09-1000
14   AWI SMS, 2009 WL 2590425, at 2 (E.D. Cal. Aug. 20, 2009) (“Stated
15   differently, if there is a non-fanciful possibility that the
16   plaintiffs can state a claim against the non-diverse defendant, the
17   [district] court must remand.”).     To the extent a relatively close
18   question is presented, the Ninth Circuit requires “any doubts about
19   removability [be] resolved in favor of remanding the case to state
20   court.”    Barahona v. Orkin, No. 08-CV-04634-RGK-SHX, 2008 WL
21   4724054, at 1 (C.D. Cal. Oct. 21, 2008)(citing Shamrock Oil & Gas
22   Corp., 980 F.2d at 566 (9th Cir. 1992); see also Gaus v. Miles, 980
23   F.2d at 566 (“Federal jurisdiction must be rejected if there is any
24
25        14
             This case presents a completely different scenario from
26   Morris v. Princess Cruises, Inc., 236 F.3d 1061 (9th Cir. 2001),
     affirming the trial court’s “sham defendant” finding because: “it
27   is abundantly obvious that [Plaintiff] could not possibly prevail
     on her negligent misrepresentation claim against [Defendant].” Id.
28   at 1068.

                                        16
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 17 of 20


 1   doubt as to the right of removal in the first instance.”)(citing
 2   Libhart v. Santa Monica Dairy Co., 592 F.2d 1062, 1064 (9th Cir.
 3   1979)).
 4        The    allegations   must   be   accepted   as   true;   individually,
 5   knowingly   signing fraudulent        certification   letters   and    aiding
 6   employer misconduct with wrongful intent are not merely “corporate
 7   duties” performed in the course and scope of one’s employment.15
 8   Fraudulent intent and wrongful conduct to facilitate a breach of
 9   statutory fiduciary duties are not within the course and scope of
10   employment.16   Under the SAC, Loeb is not a “sham” defendant.            The
11   motion is GRANTED.
12        There is an additional reason to remand this case.               In this
13   Circuit, district courts “may not make final determinations with
14   regard to questions of state law that are not well-settled.”
15
          15
16            Plaintiffs argue that the second amended complaint’s
     allegations fall outside United States Liability Ins. Co. v.
17   Haidinger-Hayes, Inc., 1 Cal.3d 586 (1970) and its progeny.
18   Plaintiffs are correct, however, whether Haidinger-Hayes is good
     law is unclear given the discussion in Bear Valley, 2010 WL
19   3369600.
20        16
            Defendants cite Slottow v. American Casualty Co., 10 F.3d
     1355 (9th Cir. 1993) for the proposition that “the individual
21   cannot be held liable for breach of fiduciary duty by virtue of
22   signing documents in the course and scope of his employment on
     behalf of the corporate defendant.” (Rough RT, Nov. 1, 2010, 6:17-
23   6:21.)   However, knowingly signing false audit documents with
     unlawful   fraudulent   intent   and   concealing   a   fraudulent
24   underreporting actuarial scheme are courses of conduct for which
     the defendants can be individually liable because such conduct is
25   never within the course and scope of employment.       See, e.g.,
26   Carolina Cas. Ins. Co. v. RDD, Inc., 685 F. Supp. 2d 1052, 1058
     (N.D. Cal. 2010) (finding that “the present case [involving
27   allegations of improper conduct and fraudulently signed documents]
     is distinguishable from one in which corporate officers are not
28   liable solely by reason of their official position.”).

                                           17
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 18 of 20


 1   Knutson v. Allis-Chalmers Corp., 358 F. Supp. 2d 983, 995 (D. Nev.
 2   2005).17   The May 12, 2010 Memorandum Decision found that, based on
 3   United States Liability Ins. Co. v. Haidinger-Hayes, Inc., 1 Cal.3d
 4   586 (1970), Loeb could not be held liable for action taken within
 5   the course and scope of his employment where those acts are alleged
 6   to have caused only economic injury.       However, on August 23, 2010,
 7   District Judge Gutierrez of the Central District of California
 8   reached a different conclusion.         See Bear Valley Family v. Bank
 9   Midwest, N.A., No. CV-10-905-PSG-JEM, 2010 WL 3369600 (C.D. Cal.
10   Aug 23, 2010).    Judge Guiterrez determined that recent California
11   law demonstrated a shift away from Haidinger-Hayes and that an
12   employee, working within the scope of their employment, could be
13   held liable in tort for pecuniary losses.       Id. at 4.   This is non-
14   binding but persuasive authority given the review and application
15   of related Ninth Circuit and California law.
16        In Bear Valley, plaintiffs filed suit in California state
17   court against a bank, the bank owner, and one of its Senior VP’s,
18   asserting a variety of tort and contract claims, including fraud
19   and negligent misrepresentation.        Defendants removed the case on
20   the basis of diversity jurisdiction, arguing that the Senior VP’s
21   California citizenship should be disregarded because he was a
22   “sham” defendant who was fraudulently joined in this action for the
23   purpose     of   defeating    diversity     jurisdiction.     Plaintiffs
24   subsequently moved to remand the action to state court.           Citing
25
          17
26          See Mercado v. Allstate Ins. Co., 340 F.3d 824, 826 (9th
     Cir. 2003) (joinder of a resident defendant is fraudulent only if
27   “plaintiff fails to state a cause of action against a resident
     defendant, and the failure is obvious according to the settled
28   rules of the state.”)(emphasis added).

                                        18
          Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 19 of 20


 1   Haidinger-Hayes, defendants argued that the Senior VP could not be
 2   held liable because he was acting within the course and scope of
 3   his employment and plaintiffs only alleged pecuniary injury.               He
 4   was therefore a “sham” defendant.           Judge Gutierrez disagreed,
 5   finding that “recent statements from California courts concerning
 6   relevant tort and agency principles, including the principle that
 7   [a]n agent or employee is always liable for his own torts, whether
 8   his employer is liable or not.”18      Bear Valley, 2010 WL 3369600, at
 9   4.    Judge Gutierrez also noted that Haidinger-Hayes was at odds
10   with another Central District case, Black Donuts, Inc. v. Sumitomo
11   Corp. of Am., 2010 U.S. Dist. LEXIS 30859 (C.D. Cal. Mar. 3, 2010).
12   For those reasons, Defendants’ “sham” defendants arguments were
13   rejected and the matter was remanded to state court.
14          Although Bear Valley is not factually identical to this case,19
15   it did analyze the California law on whether an employee can be
16   held liable for actions taken during the “course and scope” of
17   employment, when only economic injury arises.            Here there is a
18   legitimate dispute Loeb was acting within the course and scope of
19   his employment;     an issue for the trier of fact to resolve.        Bear
20
21          18
            The state court authorities cited in Bear Creek included
22   Shafer v. Berger, Kahn, Shafton, Moss, Figler, Simon & Gladstone,
     107 Cal. App. 4th 54 (2003).
23
            19
            The Bear Creek plaintiffs alleged that, among others things,
24   the individual defendant - the Senior Banking Executive - tried to
     “extort a Dunkin' Donuts franchise in exchange for construction
25   funding are barred by the statute of frauds and do not establish
26   detrimental reliance or damages.”     Id. at 5.   Here, Plaintiffs
     allege that Defendant Loeb committed actuarial negligence and
27   conspired with Defendant Buck to manipulate actuarial information.
     Although not identical, both cases involve allegations of
28   misconduct on the part of key personnel.

                                          19
        Case 1:09-cv-02061-OWW-GSA Document 59 Filed 03/08/11 Page 20 of 20


 1   Valley recognized the law is not settled and that remand was
 2   appropriate.          Id. at 5.   It highlights an ambiguity/shift in the
 3   relevant state law, not raised in any of the parties’ briefing to
 4   date.         However, whether the issue was formally raised by the
 5   parties is not controlling.           See 28 U.S.C. § 1447(c) (“If at any
 6   time before final judgment it appears that the district court lacks
 7   subject matter jurisdiction, the case shall be remanded.”).20         For
 8   all the reasons discussed in Bear Valley, Loeb is not a sham
 9   defendant and the matter is remanded to state court.
10
11                                     V. CONCLUSION.
12            For all the reasons stated:
13            1.      Plaintiffs’ renewed motion to remand this case to the
14                    Stanislaus County Superior Court is GRANTED. This action
15                    is hereby REMANDED to the Superior Court of the State of
16                    California, in and for the County of Stanislaus;
17
18            2.      Defendants’ motion to dismiss, filed on August 30, 2010,
19                    is DENIED as moot.
20
21   IT IS SO ORDERED.
22   Dated:        March 7, 2011                /s/ Oliver W. Wanger
     aa70i8                                UNITED STATES DISTRICT JUDGE
23
24
25
26
              20
27          Plaintiffs, however, implicitly raised the issue in their
     opposition to Defendants’ motion to dismiss, Doc. 48, and its
28   renewed motion to remand, Doc. 51.

                                             20
